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           16
                                    UNITED STATES DISTRICT COURT
           17
                          CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
           18
           19       MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                    a Delaware corporation; and
           20       CERCACOR LABORATORIES, INC.,                  APPLE’S L.R. 56-2 STATEMENT OF
                    a Delaware corporation,                       GENUINE DISPUTES OF MATERIAL
           21                                                     FACT IN SUPPORT OF ITS
                                       Plaintiffs,                OPPOSITION TO PLAINTIFFS’
           22                                                     MOTION FOR PARTIAL SUMMARY
                          v.                                      JUDGMENT
           23
                    APPLE INC.,
                    a California corporation,                     Date: Feb. 6, 2023
           24
                                                                  Time: 1:30pm
           25                          Defendant.                 Pre-Trial Conference: Mar. 13, 2023
                                                                  Trial: Mar. 28, 2023
           26
           27            REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL

           28
                     APPLE’S GENUINE DISPUTES OF MATERIAL FACT ISO ITS OPPOSITION TO PLAINTIFFS’ MOT. FOR
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             1                Pursuant to Local Rule 56-2, Defendant Apple Inc. (“Apple”) respectfully
             2      submits the following Response to Plaintiffs’ Proposed Statement of Uncontroverted
             3      Facts (“SUF”) and Conclusions of Law. While Apple has separately submitted its
             4      objections pursuant to FRCP 56(c)(2) to Plaintiffs’ proffered evidence, Apple has
             5      marked each “Statement of Undisputed Fact” where Apple had lodged an evidentiary
             6      objection with the phrase “Evidentiary Objection.”
             7      I.        RESPONSE TO PLAINTIFFS’ PROPOSED STATEMENT OF
             8                UNDISPUTED FACTS
             9           Plaintiffs’ Proposed SUF               Apple’s Response
           10
                         1. Proposed Fact: Cercacor and         Undisputed that Cercacor and Masimo
           11
                         Masimo Corp. collaborate on            Corp. have executed a cross-licensing
           12
                         technology developments under a        agreement effective January 1, 2007,
           13
                         cross-license agreement.               that amended and restated a cross-
           14
                         Alleged Evidence: Kiani Decl. ¶ 3;     licensing agreement originally entered
           15
                         Hammarth Decl. ¶ 6; Ex. 12 (Cross-     into on May 2, 1998. Immaterial
           16
                         license agreement).                    whether Plaintiffs “collaborate” on
           17
                                                                technology generally under that
           18
                                                                agreement, as the agreement does not
           19
                                                                mention any of the alleged trade
           20
                                                                secrets in this case.
           21
                                                                Misleading. The agreement does not
           22
                                                                state that Plaintiffs agree to
           23
                                                                “collaborate on technology
           24
                                                                developments.”
           25
           26            2. Proposed Fact: Over many years,     Vague as to “significant amount.”

           27                                                   Misleading and irrelevant. It is

           28
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             1
                        Plaintiffs’ Proposed SUF                  Apple’s Response
             2
                        Masimo1 dedicated a significant           immaterial whether Plaintiffs have
             3
                        amount of financial resources and         “dedicated a significant amount of
             4
                        personnel to developing                   financial resources and personnel to
             5
                                                                  developing
             6
             7          Alleged Evidence: Kiani Decl. ¶ 7;
                        Diab Decl. ¶¶ 20, 31.                     generally. Plaintiffs’ cited evidence
             8
                                                                  fails to specify the amount of
             9
                                                                  resources and personnel (if any) that
           10
                                                                  Plaintiffs claim have been dedicated to
           11
                                                                  developing the individual alleged
           12
                                                                                                   or even
           13
                                                                  all the alleged
           14
                                                                       as compared to other
           15
           16
                                                                                (e.g.,
           17
                                                                                                that
           18
                                                                  Plaintiffs may obtain value from by
           19
                                                                  patenting rather than keeping secret).
           20
                                                                  Kiani Decl. ¶ 7; Diab Decl. ¶¶ 20, 31;
           21
                                                                  see also Ex. J at 129-133 (
           22
           23
           24
           25
                    1
           26           When using the term “Masimo,” Plaintiffs are not clear as to whether they are
                        referring to (1) only Masimo Corp. (2) only Cercacor, or (3) both Masimo Corp. and
           27           Cercacor. Apple objects to this terminology throughout for the same basic reasons
                        raised in its Daubert motion challenging the opinions of Palmatier. See Dkt. 1114.
           28
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             1
                      Plaintiffs’ Proposed SUF                 Apple’s Response
             2
             3
             4
             5
             6        3. Proposed Fact: Masimo                 Disputed. Plaintiffs’ cited evidence
             7        developed                                fails to support this proposed fact
             8                                                 because it does not distinguish
             9                                                 between “
           10         Alleged Evidence: Kiani Decl. ¶¶ 7-                                  ” and the
           11         8; Diab Decl. ¶¶ 20, 31.                 specific purported secrets at issue in
           12                                                  this case. Kiani Decl. ¶¶ 7-8 (
           13
           14
           15                                                                ); Diab Decl. ¶¶ 20, 31
           16                                                  (same).
           17                                                  Evidentiary Objection
           18
                      4. Proposed Fact:                        Misleading. The proposed fact is
           19
                                                               immaterial to the value of Plaintiffs’
           20
                                                               alleged
           21
                                                               because it does not distinguish
           22
                      Alleged Evidence: Kiani Decl. ¶ 7;       between “
           23
                      Diab Decl. ¶ 31.                                                      and the
           24
                                                               specific purported secrets at issue in
           25
                                                               this case.
           26
           27                                                  Disputed. Plaintiffs’ cited evidence

           28
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             1
                      Plaintiffs’ Proposed SUF                 Apple’s Response
             2
                                                               fails to support this proposed fact
             3
                                                               because there is no evidence that
             4
                                                               Plaintiffs have compared their own
             5
                                                               products to any competing products.
             6
                                                               Kiani Decl. ¶ 7 (
             7
             8
             9
           10
           11
           12
           13
           14
           15
           16
                                                                     ); Diab Decl. ¶ 31 (same); Ex.
           17
                                                               H at 270-271 (
           18
           19
           20
           21
           22
                                                                                            ); id. at
           23
                                                               276
           24
           25
           26
                                                                                                     see
           27
           28
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             1
                      Plaintiffs’ Proposed SUF                 Apple’s Response
             2
                                                               also Ex. J at 136:21-137:5 (Madisetti
             3
                                                               stating that he did not know whether
             4
                                                               anyone other than Plaintiffs and
             5
                                                               [allegedly] Apple knew about
             6
                                                               Plaintiffs’ trade secrets); id. at 52-54
             7
                                                               (Madisetti admitting that he had not
             8
                                                               spoken to anyone or reviewed written
             9
                                                               materials from any of Plaintiffs’
           10
           11
           12
           13
           14         5. Proposed Fact: Masimo                 Disputed. Plaintiffs’ cited evidence
           15         maintains the confidentiality of its     fails to support this proposed fact
           16                                                  because the evidence (1) does not refer
           17         Alleged Evidence: Kiani Decl. ¶7;        to the specific alleged
           18         Diab Decl. ¶¶ 30-31.                                         and (2) is conclusory
           19                                                  (as it does not detail any of Plaintiffs’
           20                                                  efforts to maintain confidentiality).
           21                                                  Kiani Decl. ¶ 7 (
           22
           23
           24
           25
           26                                                                                      Diab
           27                                                  Decl. ¶¶ 20, 31 (same). Moreover,
           28
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             1
                      Plaintiffs’ Proposed SUF                 Apple’s Response
             2
                                                               Plaintiffs’ cited evidence fails to refute
             3
                                                               or address the contrary evidence in the
             4
                                                               record—that Plaintiffs have put some
             5
                                                               of their
             6
                                                                                            into
             7
                                                               patents, which are necessarily not
             8
                                                               secret. See, e.g., Ex. Y at 10:14-23
             9
                                                               (Plaintiffs’ patent springing from
           10
                                                               application published in 2011
           11
                                                               describing “demodulation module”
           12
                                                               that reduces “crosstalk”); Ex. CC
           13
                                                               (Plaintiffs’ 2001 patent entitled
           14
                                                               “Method and Apparatus for
           15
                                                               Demodulating Signals In A Pulse
           16
                                                               Oximetry System”).
           17
           18         6. Proposed Fact: Masimo                 Vague as to time. Disputed to the
           19         maintains the confidentiality of         extent the proposed fact implies that
           20                            by restricting        Plaintiffs have “restrict[ed] physical
           21         physical and electronic access to        and electronic access to employees
           22         employees whose responsibilities         whose responsibilities require access
           23         require access to such information.      to such information” during the
           24         Alleged Evidence: Hammarth Decl.         entirety of the relevant time period.
           25         ¶¶ 22-28; Muhsin Decl. ¶¶ 4-6.           The cited evidence does not support
           26                                                  anything beyond the current use of
           27                                                  “physical access controls.” Hammarth
           28
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             1
                      Plaintiffs’ Proposed SUF                 Apple’s Response
             2
                                                               Decl. ¶¶ 22-28 (only using present
             3
                                                               tense); Muhsin Decl. ¶¶ 4-6 (only
             4
                                                               using present tense).
             5
             6                                                 Disputed. Plaintiffs’ cited evidence
             7                                                 fails to support this proposed fact.
             8                                                 Hammarth Decl. ¶¶ 22-28 (
             9
           10
           11
           12                                                                                Muhsin
           13                                                  Decl. ¶¶ 4-6 (same).
           14
           15
           16
           17
           18                                                                See Ex. G at 56-57
           19
           20
           21
           22
           23
           24                                                           Ex. H at 102
           25
           26
           27
           28
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             1
                  Plaintiffs’ Proposed SUF                 Apple’s Response
             2
             3
             4
             5
                                                                           id. at 104-105
             6
             7
             8
             9
                                                                           ; Ex. F at 103
           10
           11
                                                                                             Ex.
           12
                                                           D at 124
           13
           14
           15
           16
           17
                                                                                              id.
           18
                                                           at 33:24-34:5
           19
           20
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           25
           26
           27                                              Evidentiary Objection
           28
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             1
                  Plaintiffs’ Proposed SUF                  Apple’s Response
             2
                  7. Proposed Fact: Masimo’s                Undisputed that Plaintiffs purport to
             3
                  physical access controls include          control physical access to their
             4
                  individually coded employee key           facilities.
             5
                  cards that limit access to controlled     Vague as to time. Disputed to the
             6
                  areas, as well as requiring visitors to   extent the proposed fact implies that
             7
                  check-in, provide identification          Plaintiffs have used these “physical
             8
                  information that is recorded in a         access controls” during the entirety of
             9
                  visitor log, and be escorted by           the relevant time period. The cited
           10
                  employees.                                evidence does not support anything
           11
           12     Alleged Evidence: Hammarth Decl.          beyond the current use of “physical
           13     ¶¶ 26-28; Muhsin Decl. ¶¶ 4-5.            access controls.” Hammarth Decl. ¶¶
           14                                               26-28 (only using present tense);
           15                                               Muhsin Decl. ¶¶ 4-5 (only using
           16                                               present tense).
           17                                               Disputed that all third-party visitors
           18                                               are escorted by employees. Ex. C at
           19                                               135-136 (
           20
           21
           22
           23
                                                            Evidentiary Objection
           24
           25     8. Proposed Fact: Masimo has              To the extent this evidence is

           26     written policies instructing employees    admissible, undisputed that Plaintiffs

           27     how to handle computer resources to       have had written policies related to

           28
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             1
                  Plaintiffs’ Proposed SUF                 Apple’s Response
             2
                  ensure that systems remain secure and    information security.
             3
                  information stays protected.             Disputed to the extent the proposed
             4
             5    Alleged Evidence: Exs. 3-7 (Masimo fact implies that the cited policies have
             6    Policies and Procedures), 9-11           been in effect during the entirety of
             7    (Masimo Confidentiality Agreements), the relevant period.
             8    13 (Cercacor Confidentiality                                                   See
             9    Agreement), 14-16 (Cercacor              Exs. 3-7, 14-16 (
           10     Policies); Muhsin Decl. ¶¶ 7-12.                             ).
           11                                              Evidentiary Objection
           12
           13
           14     9. Proposed Fact: Masimo provides        Disputed. Plaintiffs’ cited evidence

           15     ongoing training to ensure employees     fails to support this proposed fact.

           16     understand and adhere to company         None of the cited documents describe

           17     policies about protecting confidential   “ongoing training,” or show that any

           18     information.                             training has actually been provided.

           19     Alleged Evidence: Muhsin Decl.           The cited documents at most show a

           20     ¶ 12; Hammarth Decl. ¶ 29; Ex. 4
           21     (Masimo Information Technology
           22     Training Policy & Procedure).
           23
           24                                                                       Muhsin Decl. ¶

           25                                              12 (                             );

           26                                              Hammarth Decl. ¶ 29 (

           27
           28
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             1
                  Plaintiffs’ Proposed SUF                 Apple’s Response
             2
             3
                                                                                      ); Ex. 4 at 2
             4
                                                           (
             5
             6
             7
             8
             9
                                                                       ).
           10
           11     10. Proposed Fact: Masimo                To the extent the evidence is
           12     provides information about Masimo’s      admissible, undisputed that since 2000
           13     policies and procedures to new           Plaintiffs’ new employees typically
           14     employees and requires employees         sign confidentiality agreements that
           15     sign confidentiality agreements to       contain information about Plaintiffs’
           16     preserve the secrecy of Masimo’s         policies and procedures. Exs. 9-11,
           17     confidential information.                13-16 (
           18     Alleged Evidence: Ex. 41 (Miller              ); Miller Decl. ¶ 2
           19     Depo.) at 16:10-17:8, 23:2-11, 25:24-                                );
           20     27:19, 29:5-8; Miller Decl. ¶¶ 7-8; Ex. Hammarth Decl. ¶2 (
           21     42 (Hammarth Depo.) at 125:21-                        ); Kiani Decl. ¶ 6
           22     126:14; Kiani Decl. ¶ 6; Exs. 9-11       (
           23     (Masimo Confidentiality Agreements),
           24     13 (Cercacor Confidentiality
           25     Agreement), 14-16 (Cercacor
           26     Policies).                               Evidentiary Objection
           27
           28
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             1
                  Plaintiffs’ Proposed SUF                 Apple’s Response
             2
                  11. Proposed Fact: Masimo’s              To the extent the evidence is
             3
                  electronic controls include hardware     admissible, undisputed that Plaintiffs
             4
                  and software security measures that      currently use hardware and software in
             5
                  limit access to electronically stored    an effort to control access to
             6
                  confidential information to specific     electronically stored confidential
             7
                  employees.                               information.
             8
             9    Alleged Evidence: Hammarth Decl.         Vague as to time. Disputed to the
           10     ¶¶ 22-25; Muhsin Decl. ¶6.               extent the proposed fact implies that
           11                                              Plaintiffs have used hardware and
           12                                              software in an effort to control access
           13                                              to electronically stored confidential
           14                                              information since Lamego began
           15                                              working for Plaintiffs. The cited
           16                                              evidence does not support anything
           17                                              beyond the current use of hardware
           18                                              and software. Hammarth Decl. ¶¶ 22-
           19                                              25 (only using present tense); Muhsin
           20                                              Decl. ¶6 (only using present tense).
           21                                              Disputed to the extent Masimo
           22                                              contends these security measures
           23                                              successfully limit access to
           24                                              electronically stored confidential
           25                                              information to only specific
           26                                              employees. Ex. C at 131:3-132:1
           27                                              (
           28
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             1
                  Plaintiffs’ Proposed SUF                 Apple’s Response
             2
             3
             4
             5
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             7
             8
             9                                             Evidentiary Objection
           10     12. Proposed Fact: When a Masimo         To the extent the evidence is
           11     employee leaves, the employee            admissible, undisputed that Masimo
           12     completes an exit process that includes Corp.’s Vice President of Human
           13     an exit interview, providing the         Resources described the company’s
           14     employee with a copy of the
           15     employee’s confidential agreements,
           16     reminding the employee of ongoing
           17     confidentiality obligations, and
           18     recovering all company information
           19     and equipment, including any                              Miller Decl. ¶¶ 9-10.
           20     documents, computers, phones, and        Undisputed that Masimo Corp.’s
           21     keycards.
           22
                  Alleged Evidence: Miller Decl. ¶¶ 9-
           23
                  10; Hammarth Decl. ¶¶ 29-30.
           24
                                                                                       Miller
           25
                                                           Decl. ¶¶ 9-10.
           26
           27                                              Disputed that the cited evidence

           28
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             1
                  Plaintiffs’ Proposed SUF                 Apple’s Response
             2
                                                           supports the full scope of the proposed
             3
                                                           fact with respect to Cercacor.
             4
                                                           Hammarth Decl. ¶¶ 29-30 (
             5
             6
                                                                                       ).
             7
             8                                             Vague as to time. To the extent the
             9                                             cited evidence is admissible, disputed
           10                                              to the extent the proposed fact implies
           11                                              that this exit process was in place
           12                                              during the entire time Lamego was
           13                                              employed by Plaintiffs. The cited
           14                                              evidence does not specify when these
           15                                              practices were put into place. Miller
           16                                              Decl. ¶¶ 9-10 (using only present
           17                                              tense); id. at ¶ 2 (
           18                                                                ); Hammarth Decl. ¶¶
           19                                              29-31 (
           20
           21
           22
           23
           24
           25                                                   ).
           26                                              Evidentiary Objection
           27
           28
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             1
                  Plaintiffs’ Proposed SUF                 Apple’s Response
             2
                  13. Proposed Fact: In 2000, as part      Undisputed that Lamego signed an
             3
                  of his initial onboarding process,       employee confidentiality agreement
             4
                  Lamego signed an employee                with Masimo Corp. in 2000.
             5
                  confidentiality agreement with
             6
                  Masimo Corp.
             7
             8    Alleged Evidence: Ex. 9 (2000
             9    Confidentiality Agreement); Miller
           10     Decl. ¶ 12.
           11     14. Proposed Fact: Before working        Disputed. Plaintiffs’ cited evidence
           12     at Masimo, Lamego had no experience fails to support this proposed fact. Ex.
           13     developing patient monitoring            17 at 29:13-16
           14     technology.
           15
                  Alleged Evidence: Ex. 17 (Lamego
           16
                  7/12 Depo.) at 29:13-16; Kiani Decl. ¶
           17                                                        ); Kiani Decl. ¶ 9
                  9.
           18                                              (
           19
           20
           21                                                                       ).
           22
                                                           Disputed because Dr. Lamego had
           23
                                                           prior experience teaching
           24
           25
                                                                                          before
           26
                                                           working at Masimo. Ex. 17 at 17:16-
           27
           28
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             1
                  Plaintiffs’ Proposed SUF                 Apple’s Response
             2
                                                           21.
             3
             4    15. Proposed Fact: In 2003, Lamego Undisputed that Lamego signed an
             5    signed a confidentiality agreement       employee confidentiality agreement
             6    with Masimo Corp.                        with Masimo Corp. in 2003.
             7    Alleged Evidence: Exs. 10 (2003
             8
                  Confidentiality Agreement), 17
             9
                  (Lamego 7/12 Depo.) at 35:11-15;
           10
                  Miller Decl. ¶ 12.
           11
           12     16. Proposed Fact: On January 31,        Undisputed that Lamego signed a

           13     2005, Lamego signed another              confidentiality agreement with

           14     confidentiality agreement with           Masimo Corp. on January 31, 2005.

           15     Masimo Corp.

           16     Alleged Evidence: Ex. 11 (2005
           17     Confidentiality Agreement); Miller
           18     Decl. ¶ 12.
           19     17. Proposed Fact: While working         Undisputed that while working at
           20     at Masimo, Lamego shared an office       Masimo Corp., Lamego shared an
           21     with Mohamed Diab, Masimo’s then         office with Mohamed Diab for
           22     Chief Technical Officer.                 approximately one year. Ex. 17
           23                                              (Lamego 7/12 Depo.) at 38:13-15.
                  Alleged Evidence: Ex. 17 (Lamego
           24
                  7/12 Depo.) at 38:13-15; Kiani Decl. ¶
           25
                  9; Diab Decl. ¶ 32.
           26
           27     18. Proposed Fact: Diab taught           Disputed. The cited evidence does not

           28
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             1
                  Plaintiffs’ Proposed SUF                 Apple’s Response
             2
                  Masimo’s technology to Lamego.           support the breadth of the proposed
             3
                  Alleged Evidence: Kiani Decl. ¶ 9;       fact. Kiani Decl. ¶ 9 (
             4
             5    Diab Decl. ¶ 32.
             6
             7
             8
                                                                   ); Diab Decl. ¶ 32 (
             9
           10
           11
           12
           13
           14
                                                                          ). Moreover, the cited
           15
                                                           paragraphs of the declarations fail to
           16
                                                           cite any supporting evidence.
           17
           18                                              Vague and misleading. It is unclear
           19                                              what technology means in this context,
           20                                              and it is disputed whether Diab taught
           21                                              Lamego alleged
           22                                                          See Ex. 17 at 40:5-15
           23
           24
           25
           26
           27
           28
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             1
                  Plaintiffs’ Proposed SUF                 Apple’s Response
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           10     19. Proposed Fact: Lamego worked         Undisputed that Lamego began
           11     at Masimo Corp. until 2006, at which     working at Cercacor in 2006.
           12     time Lamego began working at
           13     Cercacor, then known as Masimo
           14     Labs.
           15     Alleged Evidence: Ex. 17 (Lamego
           16     7/12 Depo.) at 42:15-25; Kiani Decl. ¶
           17     9.
           18
                  20. Proposed Fact: From February         Undisputed that from February 2007
           19
                  2007 to January 2014, Lamego was         to January 2014, Lamego served as
           20
                  Cercacor’s CTO.                          Cercacor’s CTO.
           21
           22     Alleged Evidence: Exs. 13 (2007          Disputed that the cited confidentiality

           23     Confidentiality Agreement), 40           agreement was signed in 2007—

           24     (Email); Hammarth Decl. ¶¶ 10, 35;

           25     Kiani Decl. ¶ 9.

           26                                              Ex. 13; Hammarth Decl. ¶ 10.

           27     21. Proposed Fact: Lamego signed a Undisputed that Lamego signed a
           28
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             1
                  Plaintiffs’ Proposed SUF                 Apple’s Response
             2
                  confidentiality agreement with           confidentiality agreement with
             3
                  Cercacor.                                Masimo Labs, which is now known as
             4
                  Alleged Evidence: Ex. 13                 Cercacor. Ex. 13.
             5
             6    (Confidentiality Agreement);
             7    Hammarth Decl. ¶ 10.
             8    22. Proposed Fact: Jeroen Poeze          Undisputed that Jeroen Poeze worked
             9    was a Cercacor engineer from 2007 to     as an engineer at Cercacor from 2007
           10     March 2021, and reported to Lamego       to March 2021.
           11     from 2007 to 2014.                       Undisputed that Jeroen Poeze reported
           12
                  Alleged Evidence: Poeze Decl. ¶¶ 1-      to Lamego from 2007 until Lamego
           13
                  2.                                       left in 2014.
           14
           15     23. Proposed Fact: Poeze worked          Disputed. The cited evidence fails to

           16     with Lamego to develop                   support the proposed fact. Ex. 8

           17                                              (Poeze Notebook) at -907, -933-936

           18     Alleged Evidence: Poeze Decl. ¶¶ 5-      (

           19     22; Ex. 8 (Poeze Notebook) at -907, -
           20     933-936.                                        Poeze Decl. ¶¶ 5-22 (

           21
           22
           23
           24                                                                  Opp. 4-9.

           25                                              Evidentiary Objection
           26     24. Proposed Fact: Lamego worked         Undisputed that some portion of
           27
           28
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             1
                  Plaintiffs’ Proposed SUF                   Apple’s Response
             2
                  on Masimo’s rainbow® technology.           Lamego’s work while employed by
             3
                  Alleged Evidence: Diab Decl. ¶ 32.         Plaintiffs was related to some part of
             4
                                                             Plaintiffs’ “rainbow® technology,”
             5
                                                             but vague as to what the phrases
             6
                                                             “worked on” and “technology”
             7
                                                             encompass.
             8
             9    25. Proposed Fact: Including               Disputed. The cited evidence fails to
           10     through his work on Masimo’s               support the proposed fact. First, none
           11     rainbow® products, Lamego learned          of the cited evidence describes the
           12     of                                         alleged
           13                                                in full or describes which portions of
           14     Alleged Evidence: Diab Decl. ¶¶ 2,         the described
           15     6-7, 13, 15, 19, 25, 28, 32; Kiani Decl.                                  are kept
           16     ¶ 4; Madisetti Decl. ¶¶ 47-59;             secret. Diab Decl. ¶¶ 2, 6-7, 13, 15,
           17     Hammarth Decl. ¶¶ 33, 34; Ex. 39           19, 25, 28, 32 (
           18     (Walt Weber Depo.) at 59:18-61:12.
           19
           20
           21
           22                                                                              ); Kiani
           23                                                Decl. ¶ 4 (same); Madisetti Decl. ¶¶
           24                                                47-59 (same); Hammarth Decl. ¶¶ 33,
           25                                                34 (same); Ex. 39 at 59:18-61:12
           26                                                (same); see also Opp. at 4-9. Notably,
           27                                                the cited declarations fail
           28
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             1
                  Plaintiffs’ Proposed SUF                 Apple’s Response
             2
                                                                                     Diab Decl.
             3
                                                           ¶¶ 2, 6-7, 13, 15, 19, 25, 28, 32; Kiani
             4
                                                           Decl. ¶ 4; Hammarth Decl. ¶¶ 33, 34.
             5
                                                           And the cited testimony of Walt
             6
                                                           Weber is irrelevant to alleged
             7
                                                                                     Ex. 39 at
             8
                                                           59:18-61:12 (
             9
           10
                                                                                                  ).
           11
                                                           In addition, the cited passages from
           12
                                                           Dr. Madisetti’s declaration address
           13
                                                           only                             .
           14
                                                           Madisetti Decl. ¶¶ 47-59. Finally,
           15
                                                           Diab’s and Kiani’s declarations
           16
                                                           regarding what Dr. Lamego learned
           17
                                                           from Mr. Diab are directly refuted by
           18
                                                           Dr. Lamego’s own testimony. See Ex.
           19
                                                           17 at 40:5-15
           20
           21
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             1
                  Plaintiffs’ Proposed SUF                 Apple’s Response
             2
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             8                                             Evidentiary Objection
             9    26. Proposed Fact: Lamego worked         Undisputed that some portion of
           10     on Masimo’s Pronto-7 product.            Lamego’s work while employed by
           11                                              Plaintiffs was related to some part of
                  Alleged Evidence: Poeze Decl. ¶¶ 2-
           12                                              Plaintiffs’ “Pronto-7 product,” but
                  22; Hammarth Decl. ¶ 34; Ex. 8
           13                                              vague as to the scope of the phrase
                  (Poeze Notebook).
           14                                              “worked on.”
           15
                                                           Evidentiary Objection
           16
           17     27. Proposed Fact: Including             Disputed. The cited evidence fails to

           18     through his work with Poeze and his      support the proposed fact. First, none

           19     work on Masimo’s Pronto-7 project,       of the cited evidence describes the

           20     Lamego learned of                        entirety of alleged

           21                       .                                or how alleged

           22     Alleged Evidence: Poeze Decl. ¶¶ 2-                        are embodied in the

           23     22; Hammarth Decl. ¶ 34; Madisetti       Pronto-7. Poeze Decl. ¶¶ 2-22

           24     Decl. ¶¶ 60-88; Ex. 74 (Pronto-7
           25     Operator’s Manual) at -687, -699, -
           26     701; Ex. 71 at -97; Ex. 72 (emails);     Hammarth Decl. ¶ 34 (same); Ex. 74

           27     Ex. 43 (email) at -37; Ex. 8 (Poeze      at -687, -699, -701 (same); Ex. 71 at -

           28
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             1
                  Plaintiffs’ Proposed SUF                 Apple’s Response
             2
                  Notebook) at -907, -933 to -937.         97 (same); Ex. 72 (same); Ex. 43 at -
             3
                                                           37 (same); Ex. 8 at -907, -933 to -937
             4
                                                           (same); Madisetti Decl. ¶¶ 60-88
             5
                                                           (same, and
             6
             7
             8
             9
           10
                                                                        Further, none of the cited
           11
                                                           evidence describes what Lamego
           12
                                                           “learned” from working on the Pronto-
           13
                                                           7. Poeze Decl. ¶¶ 2-22 (
           14
           15
           16
                                                                          ); Hammarth Decl. ¶ 34
           17
                                                           (
           18
           19
                                                                                          );
           20
                                                           Madisetti Decl. ¶¶ 60-88 (
           21
           22
           23
                                                                        ); Ex. 74 at -687, -699, -
           24
                                                           701 (failing to describe what Lamego
           25
                                                           “learned” from working on the Pronto-
           26
                                                           7); Ex. 71 at -97 (same); Ex. 72
           27
           28
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             1
                  Plaintiffs’ Proposed SUF                 Apple’s Response
             2
                                                           (same); Ex. 43 at -37 (same); Ex. 8 at -
             3
                                                           907, -933 to -937 (same).
             4
             5                                             Evidentiary Objection
             6    28. Proposed Fact:                       Undisputed that in 2012,
             7                                                                                 Ex.
             8                                             19 (Hotelling Depo.) at 36:19-37:6;
             9                                             Exs. 20-21 (Apple emails).
           10
                  Alleged Evidence: Ex. 19 (Hotelling
           11
                  Depo.) at 36:19-37:6; Exs. 20-21
           12
                  (Apple emails).
           13
           14
           15
           16
                                                                           Ex. 19 (Hotelling
           17
                                                           Depo.) at 36:19-37:6
           18
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             1
                  Plaintiffs’ Proposed SUF                  Apple’s Response
             2
                                                                       ”).
             3
             4    29. Proposed Fact:                        Misleading. The cited evidence does
             5                                              not support the proposed fact
             6
             7
             8    Alleged Evidence: Ex. 21 (Apple
             9    email) at -191; Ex. 22 (Apple email) at
           10     106, -109.
           11
           12
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           16                                                                                See
           17                                               supra Apple’s Response to Plaintiffs’
           18                                               Proposed Undisputed Fact No. 28.
           19                                               Apple
           20
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             1
                  Plaintiffs’ Proposed SUF                 Apple’s Response
             2
                                                                                      Ex. 21 at -
             3
                                                           188, -191, -194.
             4
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                                                                                     Ex. 22 at -
             8
                                                           108-109.
             9
           10     30. Proposed Fact:
           11
           12
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           14
           15                                              Ex. E at 66:8-19
           16     Alleged Evidence: Ex. 23 (Apple
           17     emails with Masimo) at -627; Kiani
           18     Decl. ¶ 18.
           19
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             1
                  Plaintiffs’ Proposed SUF                 Apple’s Response
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             4
                                                           Ex. D at 168:1-21
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           22
           23                                              Ex. 23 at -627 (item 6).
           24
           25                                                                            Ex. 23.
           26
                  31. Proposed Fact:                       Disputed that
           27
           28
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             1
                  Plaintiffs’ Proposed SUF                 Apple’s Response
             2
             3
             4
                                                           Ex. 24
             5
             6    Alleged Evidence: Ex. 24 (
             7                                   ; Kiani Adrian Perica’s deposition testimony
                  Decl. ¶ 21.                            explains
             8
             9
           10
           11
           12
           13
           14
           15
                                                                    Ex. E at 122:6-125:3
           16
           17
           18
           19
           20
                                                                                id. at 80:5-17
           21
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                  Plaintiffs’ Proposed SUF                 Apple’s Response
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           11
                                                                                                id. at
           12
                                                           109:6-110:1, 126:11-127:1; see also
           13
                                                           id. at 140:1-150:12.
           14
           15                                              The deposition testimony of Tim Cook
           16                                              confirms
           17
           18
           19
           20                                                                 Ex. I at 47:22-
           21                                              48:18; see also id. at 51:12-18
           22
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             1
                  Plaintiffs’ Proposed SUF                 Apple’s Response
             2
             3
             4                                             Undisputed that Apple did not partner
             5                                             with or acquire Masimo.
             6                                             Undisputed that Apple has hired
             7                                             former Masimo employees.
             8
                  32. Proposed Fact: In July 2013,         Undisputed that Dr. Michael O’Reilly
             9
                  Apple hired Dr. Michael O’Reilly,        began working for Apple in July 2013.
           10
                  Masimo Corp.’s then Chief Medical        Ex. 27 at 285:15-287:6 (
           11
                  Officer.
           12
           13     Alleged Evidence: Kiani Decl. ¶¶ 19-

           14     20; Ex. 27 (O’Reilly Depo.) at 286:17-
                  287:6; Ex. 33 (Apple Rog Responses)           ).
           15
           16     at 27.                                   Disputed to the extent

           17
           18
           19                                                                             To the

           20                                              contrary,

           21
           22
           23                                                                       Ex. 27 at

           24                                              285:15-287:6; Ex. B at 38:9-44:6,

           25                                              188:9-17;189:2-19.

           26                                              Evidentiary Objection
           27
           28
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             1
                  Plaintiffs’ Proposed SUF                 Apple’s Response
             2
                  33. Proposed Fact:
             3
             4
             5
             6    Alleged Evidence: Kiani Decl. ¶¶ 13-
                  14; Ex. 2 (Lamego email to Kiani).       Ex. 2.
             7
             8                                             Evidentiary Objection
             9    34. Proposed Fact:                       Undisputed.
           10
           11
           12
           13
                  Alleged Evidence: Kiani Decl. ¶¶ 16-
           14
                  17.
           15
           16     35. Proposed Fact: On October 2,         To the extent this evidence is

           17     2013, around 1 a.m., Lamego emailed      admissible, undisputed that on

           18     Tim Cook, offering to use his ten        October 2, 2013, Lamego emailed Tim

           19     years of knowledge from working at       Cook at 12:54 AM. Ex. 28.

           20     Masimo to help Apple in exchange for Disputed to the extent that the

           21     a “senior technical executive        proposed fact implies that Lamego
           22     position.”                               offered to provide Apple with
           23     Alleged Evidence: Ex. 28 (Lamego         Plaintiffs’ confidential technology.
           24     email to Cook).                          Lamego stated in the email that his
           25                                              experience was in developing medical
           26                                              devices, but he could help Apple with
           27                                              its consumer device projects “without
           28
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             1
                  Plaintiffs’ Proposed SUF                 Apple’s Response
             2
                                                           conflicting with the large IP I have
             3
                                                           developed for Masimo and Cercacor.”
             4
                                                           Ex. 28.
             5
             6                                             Evidentiary Objection
             7    36. Proposed Fact:                       To the extent this evidence is
             8                                             admissible, undisputed that
             9
           10
           11                                                                        Ex. 29.
           12
                  Alleged Evidence: Ex. 29 (Apple          Evidentiary Objection
           13
                  emails) at -008.
           14
           15     37. Proposed Fact:                       To the extent this evidence is

           16                                              admissible, undisputed that

           17
           18
           19                                                                         Ex. 29.

           20                                              Evidentiary Objection
           21     Alleged Evidence:
           22
           23     38. Proposed Fact: In January 21,        Undisputed that on January 21, 2014,
           24     2014, as part of his separation process, Lamego signed an employee
           25     Lamego signed an employee                acknowledgment form, certifying,
           26     acknowledgement form, certifying,        among other things, that he received a
           27
           28
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             1
                  Plaintiffs’ Proposed SUF                 Apple’s Response
             2
                  among other things, that he received a   copy of his signed confidentiality
             3
                  copy of his signed confidentiality       agreement. Ex. 16.
             4
                  agreement and, during Lamego’s exit      Undisputed that Hammarth has
             5
                  interview, Hammarth reminded
             6
                  Lamego about the importance of his
             7
                  confidentiality agreement and his
             8
                  obligation to maintain that
             9
                  confidentiality of trade secrets and
           10
                  confidential business information.
           11
           12     Alleged Evidence: Ex. 16 (Employee                  Hammarth Decl. ¶¶ 35-36.
           13     Acknowledgment form); Hammarth
           14     Decl. ¶¶ 35-36.
           15     39. Proposed Fact:
           16
           17
                  Alleged Evidence: Ex. 33 (Apple
           18
                  Rog Responses) at 27.
           19
           20     40. Proposed Fact: In January 2014, Disputed. The cited evidence only

           21     Masimo warned Apple that Lamego          supports that Cercacor claimed that it

           22     possessed Masimo’s trade secrets.        believed Lamego possessed

           23     Alleged Evidence: Ex. 34 (Masimo         unspecified alleged trade secrets. Ex.

           24     letter to Apple).                        34.

           25                                              Evidentiary Objection
           26     41. Proposed Fact: Apple continued       Disputed. The cited evidence does not
           27
           28
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             1
                  Plaintiffs’ Proposed SUF                 Apple’s Response
             2
                  to recruit Masimo employees after        support the proposed fact. Ex. 32
             3
                  hiring Lamego,
             4
                                            Apple has
             5
                  since hired at least 20 people who
             6
                  worked for Masimo.
             7
             8    Alleged Evidence: Exs. 32
             9
           10              ), 33 (Apple Rog Responses)
           11     at 16-18, 27.
           12                                              Misleading to the extent it implies that
           13
           14
           15
           16
           17
           18
           19     42. Proposed Fact:                       Disputed. The cited evidence does not
           20                                              support the proposed fact.
           21
           22
           23                                                  Ex. 47
           24
           25
                  Alleged Evidence: Exs. 35, 47, 52,
           26
                  53.
           27                                              Exs. 52, 53
           28
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             1
                  Plaintiffs’ Proposed SUF                  Apple’s Response
             2
             3
             4
             5
             6    43. Proposed Fact: At least by            Disputed. The cited evidence does not
             7    February and March 2014, Lamego           support the proposed fact—Ex. 44 at -
             8    disclosed Masimo’s                        665, -679 (
             9
           10
           11     Alleged Evidence: Ex. 44                      Ex. 48
           12                                         Ex.
           13     48                         Ex. 49
           14                                                   Ex. 49
           15                                Ex. 50                                  Ex. 51
           16                               ; Ex. 51        (same); Ex. 59 (same); Ex. 54 (same);
           17            Ex. 59                             Ex. 55 (same); Ex. 56 (same); Ex. 57
           18     Ex. 54; Ex. 55; Ex. 56; Ex. 57; Ex. 58    (same); Ex. 58 (same); Ex. 60 (same).
           19
           20
           21           Ex. 60
           22
           23
                  44. Proposed Fact:                        Disputed to the extent the proposed
           24
                                                            fact implies
           25
           26
           27
           28
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             1
                  Plaintiffs’ Proposed SUF                 Apple’s Response
             2
                                                           Plaintiffs have not cited any evidence
             3
                                                           to support that implication.
             4
                                                           Undisputed that
             5
             6
             7    Alleged Evidence: Ex. 35 (Lamego
             8    email) at -531.
             9
           10
           11
           12
           13     45. Proposed Fact:                       Undisputed that Lamego’s last day of

           14                                              employment at Apple was July 11,

           15     Alleged Evidence: Ex. 33 (Apple          2014.

           16     Rog Responses) at 27.
           17     46. Proposed Fact:                       Undisputed.
           18
           19
           20
           21
           22
                  Alleged Evidence:
           23
           24
           25
           26     47. Proposed Fact:                       Undisputed that during the prosecution

           27                                              of                                       ,

           28
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             1
                  Plaintiffs’ Proposed SUF                 Apple’s Response
             2
             3
             4
             5
             6    Alleged Evidence:
             7
             8
                                                                         Ex. 37 at -729
             9
           10
           11
           12
           13
           14
           15
           16
           17
           18
           19     48. Proposed Fact:                       Undisputed.
           20
           21
           22
           23
           24     Alleged Evidence:
           25
           26
                  49. Proposed Fact:                       Disputed.
           27
           28
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             1
                  Plaintiffs’ Proposed SUF                 Apple’s Response
             2
             3
             4
             5    Alleged Evidence:
                                                                                                Ex. D
             6
                                                           at 42, 97-98 (Kiani deposition); see
             7
                                                           also, e.g., Ex. J at 209-210 (
             8
             9
           10
           11
                                                                                            The most
           12
                                                           logical inference is that Plaintiffs’
           13
                                                           alleged                          at issue
           14
                                                           recite and claim Apple’s patent, not
           15
                                                           the other way around.
           16
           17                                              Moreover, the cited evidence does not
           18                                              support the proposed fact. None of the
           19                                              cited evidence describes the entirety of
           20                                              any of Plaintiffs’ alleged
           21                                                            . Poeze Decl. ¶ 21
           22
           23
           24
           25
           26
           27                                              Madisetti Decl. ¶¶ 118-129, 174, 193,
           28
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             1
                  Plaintiffs’ Proposed SUF                  Apple’s Response
             2
                                                            202, 210, 217, 223 (same); Ex. 38
             3
             4
             5
             6
             7                                              Evidentiary Objection
             8
             9     II.     RESPONSE TO PROPOSED CONCLUSIONS OF LAW

           10     Plaintiffs’ Proposed Conclusions          Apple’s Response
           11
                  1. The elements of a claim for            Disputed. According to Plaintiffs’
           12
                  misappropriation under the California     own case law, they must show by a
           13
                  Uniform Trade Secret Act are (1) the      preponderance of the evidence “(1) the
           14
                  existence and possession of a trade       plaintiff owned a trade secret, (2) the
           15
                  secret, and (2) misappropriation of the   defendant acquired, disclosed, or used
           16
                  trade secret. Cal. Civ. Code § 3426.1.    the plaintiff's trade secret through
           17
                                                            improper means, and (3) the
           18
                                                            defendant's actions damaged the
           19
                                                            plaintiff.” E.g., Sargent Fletcher, Inc.
           20
                                                            v. Able Corp., 110 Cal. App. 4th 1658,
           21
                                                            1668 (2003), cited in Mot. 7.
           22
           23     2. Under the California Uniform           Undisputed.

           24     Trade Secret Act a trade secret is

           25     information that: (1) derives

           26     independent economic value, actual or

           27     potential, from not being generally

           28
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             1
                  Plaintiffs’ Proposed Conclusions         Apple’s Response
             2
                  known to the public or to other
             3
                  persons who can obtain economic
             4
                  value from its disclosure or use; and
             5
                  (2) is the subject of efforts that are
             6
                  reasonable under the circumstances to
             7
                  maintain its secrecy. Cal. Civ. Code §
             8
                  3426.1(d).
             9
           10     3. “The standard to show that trade      Disputed to the extent Plaintiffs rely
           11     secrets derive [independent] economic on cases regarding the standard
           12     value is not a high standard.” Cisco     required at the motion to dismiss stage
           13     Sys., Inc. v. Chung, 462 F. Supp. 3d     rather than at summary judgment.
           14     1024, 1052 (N.D. Cal. 2020), quoting     At summary judgment, courts have
           15     Calendar Rsch. LLC v. StubHub, Inc.,     explained that “[i]nformation derives
           16     No. 2:17-CV-04062-SVW-SS, 2017           independent economic value from not
           17     WL 10378336, at *4 (C.D. Cal. Aug.       being generally known when its
           18     16, 2017). “To have independent          secrecy provides a business with a
           19     economic value, a trade secret must be ‘substantial business advantage.’” See
           20     sufficiently valuable and secret to    Mattel, Inc. v. MGA Ent, Inc., 782 F.
           21     afford an actual or potential economic   Supp.2d 911, 959 (C.D. Cal. 2011)
           22     advantage over others.” Id.              (quoting Morlife, Inc. v. Perry, 56
           23                                              Cal.App.4th 1514, 1522 (Cal. App.
           24                                              1997)); accord Int'l Med. Devices, Inc.
           25                                              v. Cornell, 2022 WL 17082090, at *7
           26                                              (C.D. Cal. Sept. 26, 2022) (a “secret
           27                                              must be ‘sufficiently valuable and
           28
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             1
                  Plaintiffs’ Proposed Conclusions          Apple’s Response
             2
                                                            secret to afford an actual or potential
             3
                                                            economic advantage over others’”).
             4
             5    4. “The [generally known] inquiry is      Undisputed.

             6    not whether the alleged trade secret

             7    has been publicly disclosed at all, but

             8    whether it has become ‘generally

             9    known to the relevant people, i.e.,

           10     potential competitors or other persons

           11     to whom the information would have

           12     some economic value[.]’” Kittrich

           13     Corp. v. Chilewich Sultan, LLC, No.

           14     CV1210079GHKARGX, 2013 WL

           15     12131376, at *4 (C.D. Cal. Feb. 20,

           16     2013), quoting DVD Copy Control

           17     Ass’n, Inc. v. Bunner, 116 Cal. 4th

           18     241, 251 (2004)).

           19     5. The core inquiry is whether the        Partially disputed. The alleged secret
           20     owner of the information derives value information must provide a
           21     in keeping the information secret from “substantial business advantage.”
           22     persons who could exploit it to the       Morlife, Inc., 56 Cal.App.4th at 1522;
           23     relative disadvantage of the original     accord Mattel, Inc., 782 F. Supp.2d at
           24     owner. Yield Dynamics, Inc. v. TEA        959.
           25     Systems Corp., 154 Cal. App. 4th 547,
           26     568 (2007). Information is protectable
           27     as a trade secret if it continues to
           28
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             1
                  Plaintiffs’ Proposed Conclusions         Apple’s Response
             2
                  provide a business advantage over a
             3
                  competitor. Morlife, Inc. v. Perry, 56
             4
                  Cal. App. 4th 1514, 1521–22 (1997).
             5
             6    6. Finding aspects of the trade secret   Disputed. Imi-Tech Corp. v. Gagliani
             7    across various publications and          and American Can Company v.
             8    applying a patent-like obviousness       Mansukhani do not address whether a
             9    analysis does not render the trade       trade secret defendant can use multiple
           10     secret generally known under CUTSA. references to show that a single
           11     See Imi-Tech Corp. v. Gagliani, 691 F. purported trade secret was not
           12     Supp. 214, 231 (S.D. Cal. 1986) (“The generally known. They hold only that
           13     defendants’ attempts to show that Imi- trade secrets are not required to be
           14     Tech’s alleged trade secrets were        non-obvious under a patent law
           15     known in the prior art also fail to      analysis. See Imi-Tech Corp., 691 F.
           16     provide a defense for the defendants,    Supp. 214; Am. Can Co., 728 F.2d
           17     since it is not required that a trade    818.
           18     secret be patentably nonobvious or
           19     novel.”). “‘[O]bviousness’ is not the
           20     benchmark” in trade secrets action.
           21     Am. Can Co. v. Mansukhani, 728 F.2d
           22     818, 819 (7th Cir. 1982).
           23     7. A defendant is liable for trade       Disputed as overbroad. Trade secret
           24     secret misappropriation by acquisition   misappropriation by acquisition occurs
           25     if, at the time of acquisition, they     if at the time of acquisition, a
           26     knew or had reason to know that the      defendant knew or had reason to know
           27
           28
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             1
                  Plaintiffs’ Proposed Conclusions          Apple’s Response
             2
                  trade secret was acquired by improper     that the trade secret was acquired by
             3
                  means. Cal. Civ. Code § 3426.1(b)(1). improper means. Cal. Civ. Code §
             4
                                                            3426.1(b)(1).
             5
             6    8. “Improper means” includes “breach Undisputed.
             7    or inducement of a breach of a duty to
             8    maintain secrecy . . . .” Cal. Civ.
             9    Code § 3426.1(b)(1).
           10     9. A defendant is liable for trade        Disputed as overbroad. Trade secret
           11     secret misappropriation by disclosure     misappropriation by disclosure or use
           12     or use if, at the time of disclosure or   occurs if, at the time of disclosure or
           13     use, they knew or had reason to know      use, a defendant knew or had reason to
           14     that Apple’s knowledge of the trade       know that its knowledge of the trade
           15     secret was: (i) Derived from or           secret was: (i) Derived from or
           16     through a person who had utilized         through a person who had utilized
           17     improper means to acquire it; (ii)        improper means to acquire it; (ii)
           18     Acquired under circumstances giving       Acquired under circumstances giving
           19     rise to a duty to maintain its secrecy or rise to a duty to maintain its secrecy or
           20     limit its use; or (iii) Derived from or   limit its use; or (iii) Derived from or
           21     through a person who owed a duty to       through a person who owed a duty to
           22     the person seeking relief to maintain     the person seeking relief to maintain
           23     its secrecy or limit its use. Cal. Civ.   its secrecy or limit its use. Cal. Civ.
           24     Code § 3426.1(b)(2).                      Code § 3426.1(b)(2).
           25
                  10. A plaintiff bears the burden of       Undisputed.
           26
                  proving trade secret misappropriation
           27
           28
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             1
                  Plaintiffs’ Proposed Conclusions         Apple’s Response
             2
                  by a preponderance of the evidence.
             3
                  Sargent Fletcher, Inc. v. Able Corp.,
             4
                  110 Cal. App. 4th 1658, 1667 (2003).
             5
             6    11. There is no genuine dispute of       Disputed. See Opp. 10-15.
             7    material fact that Masimo’s Trade
             8    Secrets D-9 through D-15 meet the
             9    requirements of Cal. Civ. Code §
           10     3426.1(d)(1), because they derive
           11     independent economic value from not
           12     being generally known to the public or
           13     to other persons who can obtain
           14     economic value from their use
           15     particularly to those in the field of
           16     noninvasive blood content estimators.
           17     12. There is no genuine dispute of       Disputed. See Opp. 15-17.
           18     material fact that Masimo’s Trade
           19     Secrets D-9 through D-15 meet the
           20     requirements of Cal. Civ. Code §
           21     3426.1(d)(2), because Masimo made
           22     reasonable efforts to maintain their
           23     secrecy.
           24
                  13. There is no genuine dispute of       Disputed. See Opp. 17-19.
           25
                  material fact that Apple acquired
           26
                  Trade Secrets D-9 through D-15 while
           27
           28
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             1
                  Plaintiffs’ Proposed Conclusions          Apple’s Response
             2
                  knowing, or having reason to know,
             3
                  that the trade secrets were acquired by
             4
                  improper means. Cal. Civ. Code §
             5
                  3426.1(b)(1).
             6
             7    14. There is no genuine dispute of        Disputed.
             8    material fact that Apple disclosed and    First, Plaintiffs failed to raise this
             9    used Trade Secrets D-9 through D-15       theory in their brief, as they only
           10     while knowing, or having reason to        allege misappropriation under Section
           11     know, that it acquired Trade Secrets      3426.1(b)(2)(B)(iii). Mot. 22-23.
           12     D-9 through D-15 through improper         They therefore have failed to preserve
           13     means. Cal. Civ. Code §                   an argument for liability under (B)(i).
           14     3426.1(b)(2)(B)(i).                       DMF Inc. v. AMP Plus, Inc., 2020 WL
           15                                               4194099, at *2 n.1 (C.D. Cal. July 17,
           16                                               2020) (argument only in statement of
           17                                               undisputed facts and in expert report
           18                                               filed with summary judgment motion
           19                                               not “adequately raised”).
           20
                                                            Second, for the same basic reasons
           21
                                                            explained in Apple’s brief for why
           22
                                                            there is a genuine dispute of material
           23
                                                            fact regarding Plaintiffs’ (B)(iii)
           24
                                                            theory, there is a genuine dispute as to
           25
                                                            (1) whether Apple used or disclosed
           26
                                                            alleged
           27
           28
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             1
                  Plaintiffs’ Proposed Conclusions         Apple’s Response
             2
                                                           and (2) whether Apple knew or had
             3
                                                           reason to know that his or her
             4
                                                           knowledge of the alleged
             5
                                                                              was derived from or
             6
                                                           through a person who had utilized
             7
                                                           improper means to acquire it. Opp. 20.
             8
             9    15. There is no genuine dispute of       Disputed.
           10     material fact that Apple disclosed and   First, Plaintiffs failed to raise this
           11     used Trade Secrets D-9 through D-15      theory in their brief, as they only
           12     while knowing, or having reason to       allege misappropriation under Section
           13     know, that it acquired Trade Secrets     3426.1(b)(2)(B)(iii). Mot. 22-23.
           14     D-9 through D-15 under                   They therefore have failed to preserve
           15     circumstances giving rise to a duty to   an argument for liability under (B)(ii).
           16     maintain their secrecy or limit their    See, e.g., DMF Inc., 2020 WL
           17     use. Cal. Civ. Code §                    4194099, at *2 n.1 (finding waiver
           18     3426.1(b)(2)(B)(ii).                     where argument not raised in brief).
           19
                                                           Second, for the same basic reasons
           20
                                                           explained in Apple’s brief for why
           21
                                                           there is a genuine dispute of material
           22
                                                           fact regarding Plaintiffs (B)(iii)
           23
                                                           theory, there is a genuine dispute as to
           24
                                                           (1) whether Apple used or disclosed
           25
                                                           alleged
           26
                                                           and (2) whether Apple knew or had
           27
           28
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             1
                  Plaintiffs’ Proposed Conclusions          Apple’s Response
             2
                                                            reason to know that any acquisition of
             3
                                                            alleged
             4
                                                            under circumstances giving rise to a
             5
                                                            duty to maintain their secrecy or limit
             6
                                                            their use.
             7
             8    16. There is no genuine dispute of        Disputed. See Opp. 20.
             9    material fact that Apple disclosed and
           10     used Trade Secrets D-9 through D-15
           11     while knowing, or having reason to
           12     know, that Trade Secrets D-9 through
           13     D-15 were derived from Lamego who
           14     owed a duty to Masimo to maintain
           15     their secrecy or limit their use. Cal.
           16     Civ. Code § 3426.1(b)(2)(B)(iii).
           17     17. D-9: There is no genuine dispute      Disputed. See Opp. 17-20; see also
           18     of material fact that Apple               supra pp. 43-47 (Apple’s Responses to
           19     misappropriated Trade Secret D-9 by       Plaintiffs’ Proposed Conclusions of
           20     improperly acquiring, using, and          Law Nos. 13-16).
           21     disclosing the trade secret. Cal. Civ.
           22     Code §§ 3426.1(b)(1), (b)(2)(B)(i-iii).
           23
                  18. D-10: There is no genuine dispute     Disputed. See Opp. 17-20; see also
           24
                  of material fact that Apple               supra pp. 43-47 (Apple’s Responses to
           25
                  misappropriated Trade Secret D-10 by Plaintiffs’ Proposed Conclusions of
           26
                  improperly acquiring, using, and          Law Nos. 13-16).
           27
           28
                 APPLE’S GENUINE DISPUTES OF MATERIAL FACT ISO ITS OPPOSITION TO PLAINTIFFS’ MOT. FOR
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             1
                  Plaintiffs’ Proposed Conclusions          Apple’s Response
             2
                  disclosing the trade secret. Cal. Civ.
             3
                  Code §§ 3426.1(b)(1), (b)(2)(B)(i-iii).
             4
             5    19. D-11: There is no genuine dispute     Disputed. See Opp. 17-20; see also
             6    of material fact that Apple               supra pp. 43-47 (Apple’s Responses to
             7    misappropriated Trade Secret D-11 by Plaintiffs’ Proposed Conclusions of
             8    improperly acquiring, using, and          Law Nos. 13-16).
             9    disclosing the trade secret. Cal. Civ.
           10     Code §§ 3426.1(b)(1), (b)(2)(B)(i-iii).
           11     20. D-12: There is no genuine dispute     Disputed. See Opp. 17-20; see also
           12     of material fact that Apple               supra pp. 43-47 (Apple’s Responses to
           13     misappropriated Trade Secret D-12 by Plaintiffs’ Proposed Conclusions of
           14     improperly acquiring, using, and          Law Nos. 13-16).
           15     disclosing the trade secret. Cal. Civ.
           16     Code §§ 3426.1(b)(1), (b)(2)(B)(i-iii).
           17
                  21. D-13: There is no genuine dispute     Disputed. See Opp. 17-20; see also
           18
                  of material fact that Apple               supra pp. 43-47 (Apple’s Responses to
           19
                  misappropriated Trade Secret D-13 by Plaintiffs’ Proposed Conclusions of
           20
                  improperly acquiring, using, and          Law Nos. 13-16).
           21
                  disclosing the trade secret. Cal. Civ.
           22
                  Code §§ 3426.1(b)(1), (b)(2)(B)(i-iii).
           23
           24     22. D-14: There is no genuine dispute     Disputed. See Opp. 17-20; see also

           25     of material fact that Apple               supra pp. 43-47 (Apple’s Responses to

           26     misappropriated Trade Secret D-14 by Plaintiffs’ Proposed Conclusions of

           27     improperly acquiring, using, and          Law Nos. 13-16).

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             1
                     Plaintiffs’ Proposed Conclusions          Apple’s Response
             2
                     disclosing the trade secret. Cal. Civ.
             3
                     Code §§ 3426.1(b)(1), (b)(2)(B)(i-iii).
             4
             5       23. D-15: There is no genuine dispute     Disputed. See Opp. 17-20; see also
             6       of material fact that misappropriated     supra pp. 43-47 (Apple’s Responses
             7       Trade Secret D-15 by improperly           to Plaintiffs’ Proposed Conclusions of
             8       acquiring, using, and disclosing the      Law Nos. 13-16).
             9       trade secret. Cal. Civ. Code §§
           10        3426.1(b)(1), (b)(2)(B)(i-iii).
           11        24. There is no genuine dispute of        Disputed. See Opp. 17-21.
           12        material fact that Apple improperly       Further, Plaintiffs fail to cite any case
           13        acquired, used, and disclosed             concluding that acquisition or
           14        Masimo’s trade secrets.  2
                                                               disclosure of alleged trade secrets
           15
                                                               alone constitutes a harm. See Thomas
           16
                                                               Petroleum, LLC v. Lloyd, 2012 WL
           17
                                                               4511369, at *11 (E.D. Cal. Oct. 2,
           18
                                                               2012) (“[P]ossession alone is
           19
                                                               insufficient to entitle Plaintiff[s] to
           20
                                                               summary judgment” where Plaintiffs
           21
                                                               have failed to show that “the
           22
                                                               defendant’s actions damaged [them].”)
           23
           24        25. There is no genuine dispute of        Disputed. See Opp. 20-21.

           25        material fact that Apple obtained a       Further, Plaintiffs fail to cite any case
           26
                 2
           27        Plaintiffs have suggested that their Proposed Conclusions of Law Nos. 24-26 show
                       harm.
           28
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             1
                  Plaintiffs’ Proposed Conclusions          Apple’s Response
             2
                  patent claiming Masimo’s trade            concluding that obtaining a patent
             3
                  secrets.                                  alone constitutes a harm. See Thomas
             4
                                                            Petroleum, LLC, 2012 WL 4511369,
             5
                                                            at *11.
             6
             7    26. There is no genuine dispute of        Disputed. See Opp. 20-21.
             8    material fact that Apple improperly       Plaintiffs have also failed to raise in
             9    claimed ownership of Masimo’s trade       their brief the argument that Apple
           10     secrets and the right to exclude          “improperly claimed … the right to
           11     Masimo from practicing its own trade      exclude [Plaintiffs] from practicing
           12     secrets.                                  [their] own trade secrets.” See DMF
           13                                               Inc., 2020 WL 4194099, at *2 n.1
           14                                               (finding waiver where argument not
           15                                               raised in brief).
           16
                                                            Further, Plaintiffs fail to cite any case
           17
                                                            concluding that claiming ownership of
           18
                                                            alleged trade secrets alone constitutes
           19
                                                            a harm. See Thomas Petroleum, LLC,
           20
                                                            2012 WL 4511369, at *11.
           21
           22
           23
                   III.      ADDITIONAL GENUINE DISPUTES OF MATERIAL FACT
           24
           25     Disputed Fact                             Evidence
           26
                  1. Whether                            .   Ex. F at 83 (
           27
           28
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             1
                  Disputed Fact                            Evidence
             2
                       claim nothing more than
             3
                  information that is disclosed in
             4
                  publicly available documents.
             5
             6
             7
             8
             9
           10
           11
                                                                         see Ex. O at ¶¶ 132-240;
           12
                                                           Ex. P at ¶¶ 95-120, 300-308, 341-347,
           13
                                                           376-383, 412-418, 447-453, 482-489,
           14
                                                           518-525; Exs. T-FF; Opp. 10-14.
           15
           16     2. Whether purported                     Diab Decl. ¶¶ 30-31
           17                       provide any value to
           18     Plaintiffs by virtue of being kept
           19     secret.
           20
           21
           22
           23
           24                                                         Kiani Decl. ¶ 7 (same);
           25                                              Opp. 10-15.
           26     3. Whether Plaintiffs spent more than    Diab Decl. ¶¶ 30-31 (
           27
           28
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             1
                  Disputed Fact                             Evidence
             2
                  negligible resources in developing
             3
                  alleged
             4
             5
             6
             7
             8
             9
           10
           11
                                                                                 Kiani Decl. ¶ 7
           12
                                                            (same); Madisetti Decl. ¶¶ 152, 186
           13
                                                            (same—
           14
                                                                       ); Opp. 14-15.
           15
           16     4. Whether Plaintiffs took specific       Ex. G at 56-57 (
           17     steps to protect the confidentiality of
           18     alleged
           19
           20
           21                                                                       Ex. H at 102
           22
           23
           24
           25
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           28
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             1
                  Disputed Fact                            Evidence
             2
                                                                                           . at 105
             3
             4
             5
             6
                                                                                            Ex. F
             7
                                                           at 103
             8
             9
                                                                    ; Ex. D at 125
           10
           11
           12
           13
           14
           15
                                                                      Opp. 15-17.
           16
           17     5. Whether Marcelo Lamego                See Ex. P ¶ 317 (collecting citations);
           18     improperly provided Apple with           Opp. 17-19.
           19     alleged
           20     6. Whether Apple knew or had reason Ex. S (
           21     to know that Lamego (1) acquired
           22     alleged
           23     through improper means or (2) owed a
           24     duty to Plaintiffs to maintain the
           25     secrecy or limit the use of the
           26     information in alleged                                              Ex. Q
           27
           28
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             1
                  Disputed Fact                            Evidence
             2
             3
             4
             5
             6
                                                                                        Ex. R
             7
                                                           (
             8
                                                                                      ). Opp. 17-
             9
                                                           20.
           10
           11     7. Whether Plaintiffs drafted alleged    Ex. D at 42 (
           12                                   by
           13     simply copying the                                            ; id. at 98
           14
           15
           16
           17                                                                    Ex. H at 102
           18
           19
           20
           21
           22
           23
           24                                                                            id. at
           25                                              104-105
           26
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             1
                  Disputed Fact                            Evidence
             2
             3
                                                                    see Opp. 20-21.
             4
             5    8. Whether Plaintiffs have suffered      Ex. J at 135-137 (
             6    any negative consequences from
             7    Apple’s purported acquisition and
             8    disclosure of alleged
             9
           10                                                       Kiani Decl. ¶ 8 (
           11
           12
           13
           14
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           19                                                          Opp. 20-21.
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             1
             2   Dated: January 12, 2023              Respectfully submitted,

             3
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           14
           15                                         By: /s/ Mark D. Selwyn
           16                                             Mark D. Selwyn

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